






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00074-CV






Henrietta Flores, Appellant



v.



Employees Retirement System of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 250TH JUDICIAL DISTRICT


NO. GN001862, HONORABLE JOHN K. DIETZ, JUDGE PRESIDING









DISSENTING OPINION







	I would hold that the Board's order is supported by the record and that the judgment
of the trial court should be affirmed.  Accordingly, I respectfully dissent.

	By two points of error, Flores challenges the Board's interpretation and application
of Texas Government Code section 811.001(12).  See Tex. Gov't Code Ann. § 811.001(12) (West
Supp. 2002).  Although not binding, the interpretation of a statute by the administrative agency
charged with its enforcement is entitled to great weight.  See State v. Public Util. Comm'n, 883
S.W.2d 190, 196 (Tex. 1994) (citing Dodd v. Meno, 870 S.W.2d 4, 7 (Tex. 1994); Tarrant Appraisal
Dist. v. Moore, 845 S.W.2d 820, 823 (Tex. 1993)).  We look to the administrative construction of
the statute in question and determine "whether the administrative interpretation 'is plainly erroneous
or inconsistent with the regulation."'  Public Util Comm'n v. Gulf States Utils. Comm'n, 809 S.W.2d
201, 207 (Tex. 1991) (citing United States v. Larinoff, 431 U.S. 864, 872 (1977) (quoting Bowles
v. Seminole Rock Co., 325 U.S. 410, 414 (1945))); see also In re Am. Homestar of Lancaster, Inc.,
50 S.W.3d 480, 490-91 (Tex. 2001) ("[W]hile we may defer to an agency's interpretation of the
statute it administers, we owe no such deference when the agency's interpretation is unreasonable.")
(citations omitted).  Absent evidence that the Board is disregarding the plain language of its rules,
we look to its expertise in calibrating the technical aspects and integrating the policy considerations
of this complex statutory scheme.

	The majority's decision focuses on the Board's rejection of the ALJ's findings of facts
and conclusions of law.  Despite recognizing the distinction between adjudicative and legislative
facts, the majority makes no attempt at articulating the implications or application of that distinction
to the facts of this case.  While the Board should defer to the ALJ's adjudicative fact findings, it is
entitled to disregard the ALJ's legislative findings of fact.  See Tarrant County v. Ashmore, 635
S.W.2d 417 (Tex. 1982); Scott v. Texas State Bd. of Med. Exam'rs, 384 S.W.2d 686 (Tex. 1964);
Exxon Corp. v. Railroad Comm'n, 993 S.W.2d 704 (Tex. App.--Austin 1999, no pet.); WBD Oil
&amp; Gas Co. v. Railroad Comm'n, 35 S.W.3d 34 (Tex. App.--Austin 1999, pet. granted); see also F.
Scott McCown &amp; Monica Leo, When Can an Agency Change the Findings or Conclusions of an
Administrative Law Judge?, 50 Baylor L. Rev. 65, 75-77 (1998).  In my view, the record does not
support the majority's characterization of the Board's actions.  Without the appropriate analysis, we
cannot determine whether the Board correctly applied the facts to the law.

	The majority misunderstands the Board's argument because it fails to define the
causation requirement in the context of the statutory scheme.  An occupational disability is defined
as a disability resulting "from an injury or disease that directly results from a specific act or
occurrence determinable by a definite time and place, and directly results from a risk or a hazard
peculiar to and inherent in a duty that arises from and in the course of state employment."  Tex.
Gov't Code Ann. § 811.001(12) (emphasis added).  The majority opinion treats the phrase
"determinable by a definite time and place" as mere surplusage.  In interpreting statutes, we are to
give effect to the plain meaning of words and presume that every word in a statute is used for a
purpose.  See  id. § 311.021(2) (West 1998); Texas Workers' Comp. Ins. Fund v. Del Indus., Inc.,
35 S.W.3d 591, 593 (Tex. 2000).  The majority's reading negates language that bears separate
meaning.

	Because the majority fails to adhere to fundamental rules of statutory interpretation
and applies an inappropriate causation standard, its analysis is flawed and I respectfully dissent.



					                                                                                    

					Jan P. Patterson, Justice

Before Justices Kidd, B. A. Smith and Patterson

Filed:   April 18, 2002

Publish


